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                               EXHIBIT 6
          Case 2:21-cv-10163-GAD-APP ECF No. 28-7, PageID.1116 Filed 02/19/21 Page 2 of 3

                                                                                                                            PRICE QUOTE


                                                                                                                                             Quote 21437
                                                                                                                    Quote Date: Jul 09, 2020
                                                                                                                 Quote Expiration: Jul 31, 2020
                                                                                                                   Sales Rep: Detroit IT Sales


       Company:                                           Ship To:                                                Bill To:

       Detroit Axle                                       Detroit Axle                                            Detroit Axle
       2000 Eight Mile Rd                                 2000 Eight Mile Rd                                      2000 Eight Mile Rd
       Ferndale, MI 48220                                 Ferndale, MI 48220                                      Ferndale, MI 48220



                                                Item                                                      Price                 Qty             Subtotal

            Xerox® B215 Multifunction Printer                                                                $                        2             $

                                                                                                                                  Subtotal           $

                                                                                                                                     Total         $439.98

     Ticket# 418436 - Two New Printers for Controller & COO


     AGREED TO AND ACCEPTED:




                                  07/09/2020
     ___________________________ _____________________


     50% Due Upon Acceptance. This quote does not include shipping and tax. This quote is subject to the Terms and Conditions found on our website

     (www.detroitit.com/terms). These terms are considered to be the most recent and take precedent over any other previously written or implied terms and

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                      Signature Certificate
                  Document Ref.: IUGIB-74QPH-X5XVV-A4EZR

   Document signed by:

                    Luis Fonseca
                    Verified E-mail:
                    lfonseca@detroitaxle.com

                    IP: 107.77.193.86      Date: 09 Jul 2020 16:16:10 UTC



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                            09 Jul 2020 16:16:10 UTC
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